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IN THE UNITED STATES DISTRICT COURT FOR THE 7
NORTHERN DISTRICT OF OHIO EASTERN DIVISION SUEVELAND

Bernard J Bucheit CIVIL ACTION
5308 Franklin Blvd. 1:08CV2373
Cleveland, Ohio 44102

Plaintiff
Vs JUDGE
POLSTER
Overseas Private Investment Corporation
1100 New York Ave, N W AMENDED
Washington, D. C, 20527-0001 COMPLAINT

Failure of fiduciary duty and

Unjust enrichment

 
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Bernard J Buchelt acting pro se, brings this matter before this court to seek jus-
tice in asking for the return of his family business (company shares) in Gaza and
lost value of. -- herein states:

In early 1994 Bucheit International was in the process of setting up a precast concrete
manufacturing plant in Israel. Bucheit International was a family owned construction
company that had been doing business in the middie east since 1975.

Bucheit contacted the U S Department of Commerce as to opening a business in Israel
and obstacles to overcome. Shortly after that inquiry, Bucheit was contacted by a
Clinton/Gore funded group (Builders for Peace) who were founded to encourage Ameri-
can companies to invest in Gaza and the West Bank following the signing of the Oslo
Peace Accord. The group told Bucheit of the pending agreement between the USA and
the Palestine Liberation Organization (PLO) and the Palestine Authority (PA) to encour-
age investment in Gaza and the West Bank.

The agreement between the USA and the PLO would provide American investors politi-
cal risk insurance and debt and equity investment provided by the Overseas Private
Investment Corporation (OPIC) which is a development institution and an agency
funded by the U S Government.

The Bucheit’s agreed to become a member of the group (Builders for Peace) and invest
in Gaza under the plan outlined by them. The first step was to establish Bucheit Interna-
tional Ltd. a British company with all stock owned by the Bucheit children (Kurt, Le-
isel,Erich), and Bernard Bucheit as president of the company. The next step was to reg-
ister BIL in Gaza under the Gaza investment law which required BIL to have two local
residents as directors.

After the legal procedures were completed OPIC wrote a $3.3 M political risk insurance
policy to cover BIL’s investment in Gaza.

Following the first year of operations , BIL, encouraged by their sales, approached OPIC
to avail themselves of the financing available to expand the operation. OPIC issued a
$2M Commitment to BIL. In late December of 1995 BIL closed on a $1.1M loan with
OPIC. The terms of the loan required the following conditions:

1- A debenture filed in the courts of Gaza covering all of BIL’s assets there

2- Stockholders (Kurt, Leisel, and Erich Bucheit) turn over their shares to OPIC to hold
under a charge over shares agreement until the loan was repaid.

3- A first lien on a Washington D C office building owned by the Bucheit Childrens Trust.

4- Personal guarantees of the Bucheit’s.
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The loan was funded in Washington D C on Dec. 21,1995 and the net proceeds were
wire transfered to the BIL bank (Cairo Amman Bank) in Gaza.

The Bucheit’s traveled to Gaza in January 1996 and went to their bank to confirm the
funds wired from Washington were received. The bank manager told the Bucheits that
he was holding them under directions from the local directors and would not honor
checks drafted by the Bucheits or furnish bank statements to them as the bank had
been doing for the previous year.

The Bucheits were threatened that evening in Gaza and fled in the middle of the night
and returned to the US. Upon their arrival the Bucheits advised OPIC of what had tran-
spired and filed a notice of claim for expropriation of funds under the OPIC insurance
policy. Three months went by and OPIC advised BIL that their claim had no merit and it
was a dispute between BIL directors.

The business in Gaza continued operating and the owners of the plant were completely
out of the picture so BIL filed a claim for total expropriation on their insurance policy with
OPIC. This claim was also denied as not meeting the requirements of the insurance
contract.

The plant continued working without the share holders input and after a year when the
first payment on the OPIC was due and not paid. OPIC notified BIL that the loan was in
default. BIL instructed OPIC to take action against their debenture and forclose on the
Gaza assets to make the payment due, but OPIC refused and demanded the Bucheits
pay off the loan. BIL offered the plant for sale and 2 bidders responded with offer in the
$1.7 Mrange. BIL signed a letter of intent with one of the bidders from Turkey and when
they went to inspect the working plant in Gaza to see it in operation they were informed
that there was a debenture on file and they could not export the plant. This, in spite of
the fact that the newspaper advertisement had clearly stated that a lien against the as-
sets was held by OPIC. OPIC approved the ad before it was released.

Although OPIC would not cooperate in the sale of the plant, they continued to pressure
the Bucheits to pay off the loan, the Bucheit Childrens Trust sold it’s real estate in
Washington on 12/21/99 wiring $1,477,395 to OPIC as first lien holder. OPIC notified
BIL of the payment and advised BIL that their loan balance of $1,054.167 principal and
$255, 178 interest “were paid in full’. The remainder of the wired funds ($168,050) were
to be applied to yet unknown costs and that an “accounting would be supplied in the
near future”.

BIL was unable to get any information on the status of the accounting of the balance of
the proceeds so they proceeded to file a claim of total expropriation under the insur-
ance policy purchased from OPIC. During the claims process OPIC broke off direct
communication with BIL. The result was that the Bucheits trusted OPIC’s promises to
furnish the accounting of the funds and retum the stock held . During and after the in-
surance claim OPIC led the Bucheit’s to believe they were to get the collateral back but
he policy was written such that if OPIC paid any claims they held rights to any recovery
and it was a moot point.
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Following an extended period of back and fourths on the insurance claim including an
American Arbitration procedure, OPIC stone walled the Bucheits on the whereabouts of
the colateral and the debenture.

In September of 2007, Bernard Bucheit, frustrated by not getting any definitive answers
from OPIC, he filed a request for documents from OPIC under the Freedom of Informa-
tion Act. OPIC responded that they had no particular records responsive to his request.
Bucheit appealed this claim and OPIC responded that they searched 10 boxes of re-
cords compiled in response to several previous FOIA requests and subpoenas and
their search uncovered no records responsive to the request. OPIC finally did respond
on June 22,2007 that the original stock certificates were subponead by the District
Court and they delivered them in June of 2000 and Bucheit would have to get them from
the US attorney in Cleveland .

Bernard Bucheit requested his attorney (Roger Synenberg) to contact the US attorney,
Mathew Kall,to ask him to search for and return the original stock certificates to him.

Mathew Kall telephoned Synenberg on Sept. 26,08 and said no certificates were found
and rarely had they ever asked for “original” documents.

At this point Bucheit determined that this avenue was fruitless and OPIC would only
continue to stall the retrn of the collateral, thus this complaint.

ACTION

Bernard Bucheit herewith asks the court to:

1- Order OPIC to immediately retum the share certificates held as collateral on the BIL
loan agreement that states in Art.3.2 OPIC was to redeliver to the chargers all share
certificates held by the lender after repayment of the loan.

2- Dismiss the debenture on file in the Gaza court and notify the Palestinian Authority
(who is signed on the agreement with the USA) that their loan was repaid and the
shares have been returned to Bucheit.

3- OPIC’s keeping of the shares by chance, mistake, or anothers misfortune and the
shares received as collateral rightly should have been delivered or belonged to an-
other,the rightful owner should be reimbursed for his loss. The proper value can be de-
termined by a respected third party.

In simplistic terms, the defendant should put the plaintiff back into the position he would
have otherwise been in if the collateral was returned after repayment of the loan.

For the record: Once the lien is filed you have lost your equity/value in the asset.
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Respectfully submitted ae hue
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|, Bernard J Bucheit, acting pro se in this matter, certify that on / Wyo ,2008.! mailed a
copy of this complaint via certified mail, return receipt requested, to the defendant in this

matter. Z is het
Bernard J Bucheit

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Defendant

Overseas Private Investment Corporation
1100 New York Ave. NW

Washington, D C 20527-0001
